               Case 2:19-cr-00022-RSL Document 35 Filed 12/03/21 Page 1 of 4




 1                                                               The Honorable Robert S. Lasnik
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 6
 7                       UNITED STATES DISTRICT COURT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9
10
                                                                NO. 2:19-CR-0022-1
       UNITED STATES OF AMERICA,
11
                                Plaintiff,
12
                          v.                                    STIPULATED FINAL ORDER OF
13
                                                                GARNISHMENT
       CYNTHIA RAINWATER,
14
                                Defendant,
15
                          and
16
       SEATTLE PUBLIC SCHOOLS,
17
                               Garnishee.
18
19
20
21          The parties, the United States of America, Defendant Cynthia Rainwater
22
     (Defendant), and Garnishee Seattle Public Schools (Garnishee), stipulate as follows:
23
24          1. Defendant’s Social Security number is XXX-XX-0525, and Defendant’s
25
                address is 13013 SE 214th Way, Kent, WA 98031.
26
27
28
      STIPULATED FINAL ORDER OF GARNISHMENT                                   UNITED STATES ATTORNEY
                                                                              700 STEWART STREET, STE. 5220
      (USA v. Cynthia Rainwater, Court No. 2:19-CR-00022-RSL-) - 1
                                                                               SEATTLE, WASHINGTON 98101
                                                                                     (206) 553-7970
              Case 2:19-cr-00022-RSL Document 35 Filed 12/03/21 Page 2 of 4




 1         2. This Court entered an Amended Judgment against Defendant on November 19,
 2
               2019, in case no. 2:19-cr-00022-1, imposing $50,640.43 in restitution and a
 3
               Special Assessment of $100.00 (the Judgment).
 4
 5         3. The balance remaining on the Judgment is $33,280.74, as of November 3,
 6
               2021.
 7
           4. Garnishee employs Defendant and has in its possession, custody, or control,
 8
 9             property of Defendant in the form of wages (Defendant’s Property).
10
           5. Defendant waives service of an Application for Writ of Continuing
11
               Garnishment pursuant to the Federal Debt Collection Procedures Act of 1990,
12
13             28 U.S.C. § 3205, and any other process to which Defendant may be entitled
14
               under the Federal Debt Collection Procedures Act of 1990.
15
           6. Garnishee waives service of an Application for a Writ of Continuing
16
17             Garnishment pursuant to the Federal Debt Collection Procedures Act of 1990,
18
               28 U.S.C. § 3205, and further waives the right to answer and be heard in this
19
               matter and any other process to which Garnishee may be entitled under the
20
21             Federal Debt Collection Procedures Act of 1990.
22
           7. Defendant agrees and stipulates that Defendant’s Property is subject to
23
               garnishment under 28 U.S.C. § 3205 and stipulates to entry of a Final Order of
24
25             Garnishment.
26
           8. The parties therefore stipulate to the entry of a Final Order of Garnishment
27
               against Defendant’s Property. Garnishee shall each month withhold $600.00
28
     STIPULATED FINAL ORDER OF GARNISHMENT                              UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, STE. 5220
     (USA v. Cynthia Rainwater, Court No. 2:19-CR-00022-RSL-) - 2
                                                                         SEATTLE, WASHINGTON 98101
                                                                               (206) 553-7970
              Case 2:19-cr-00022-RSL Document 35 Filed 12/03/21 Page 3 of 4




 1             from Defendant's Property and pay that amount towards Defendant’s
 2
               outstanding Judgment balance, via a check payable to the “U.S. District Court,
 3
               W.D. Wash.” Garnishee shall reference case no. 2:19-cr-00022-RSL on the
 4
 5             check and send the check to:
 6
 7                          United States District Court
                            Western District of Washington
 8                          Attn: Financial Clerk – Lobby Level
 9                          700 Stewart Street
                            Seattle, Washington 98101
10
11         9. This Stipulated Final Order of Garnishment shall remain in effect until the
12             Judgment debt is paid in full or it is terminated by a court order under 28 U.S.C.
13
               § 3205(c)(10).
14
15                                      Respectfully submitted,
16
17                                      NICHOLAS W. BROWN
                                        United States Attorney
18
19                                      s/ Kyle A. Forsyth                  Date: ___________
                                        KYLE A. FORSYTH
20                                      Assistant United States Attorney
21
22
23                                      ___________________________         Date: ___________
                                        CYNTHIA RAINWATER
24                                      Defendant
25
26
27
28
     STIPULATED FINAL ORDER OF GARNISHMENT                                 UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, STE. 5220
     (USA v. Cynthia Rainwater, Court No. 2:19-CR-00022-RSL-) - 3
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
              Case 2:19-cr-00022-RSL Document 35 Filed 12/03/21 Page 4 of 4




 1                                      ___________________________         Date: ___________
                                        [NAME]
 2
                                        On behalf of Seattle Public Schools
 3                                      Garnishee
 4
          IT IS SO ORDERED.
 5
          Dated this 3rd day of December, 2021.
 6
 7
 8                                                          A
                                                            Robert S. Lasnik
 9                                                          United States District Judge
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     STIPULATED FINAL ORDER OF GARNISHMENT                                     UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, STE. 5220
     (USA v. Cynthia Rainwater, Court No. 2:19-CR-00022-RSL-) - 4
                                                                                SEATTLE, WASHINGTON 98101
                                                                                      (206) 553-7970
